       Case 1:23-cv-00142-BLW Document 154 Filed 08/01/23 Page 1 of 6




RAÚL R. LABRADOR
ATTORNEY GENERAL

LINCOLN DAVIS WILSON, ISB #11860
Chief of Civil Litigation and
Constitutional Defense

BRIAN V. CHURCH, ISB #9391
TIMOTHY J. LONGFIELD, ISB #12201
Deputy Attorneys General
Office of the Attorney General
P. O. Box 83720
Boise, ID 83720-0010
Telephone: (208) 334-2400
Facsimile: (208) 854-8073
lincoln.wilson@ag.idaho.gov
brian.church@ag.idaho.gov
timothy.longfield@ag.idaho.gov
Attorneys for Defendant Raúl Labrador
and Certain County Prosecuting Attorneys


                     UNITED STATES DISTRICT COURT
                          DISTRICT OF IDAHO

PLANNED PARENTHOOD GREAT
NORTHWEST, HAWAII, ALASKA, INDI-                  Case No. 1:23-cv-00142-BLW
ANA, KENTUCKY, on behalf of itself, et al.,
                Plaintiffs,                       NOTICE OF APPEAL

v.
RAÚL LABRADOR, in his capacity as the
Attorney General of the State of Idaho; et al.,
                Defendants.




      Defendant Raúl Labrador, in his capacity as Attorney General for the State of

Idaho, hereby appeals the district court’s July 31, 2023 Memorandum Decision and

Order [153] granting Plaintiffs’ motion for preliminary injunction against him.




                                                               NOTICE OF APPEAL – 2
     Case 1:23-cv-00142-BLW Document 154 Filed 08/01/23 Page 2 of 6




                             FORM 1 INFORMATION

   Date case was first filed in U.S. District Court: April 5, 2023

   Date of judgment or order being appealed: July 31, 2023

   Docket entry number of judgment or order appealed from: 153 (Memorandum

    Decision and Order)

   Docketing fee of $505 paid to the U.S. District Court for the District of Idaho.

   Appellant: Defendant Raúl Labrador

   This is not a cross-appeal

   A representation statement follows on the next page.

    DATED: August 1, 2023.

                                     STATE OF IDAHO
                                     OFFICE OF THE ATTORNEY GENERAL


                                  By:   /s/ Lincoln Davis Wilson
                                          LINCOLN DAVIS WILSON
                                          Chief, Civil Litigation and
                                          Constitutional Defense
                                          BRIAN V. CHURCH
                                          TIMOTHY LONGFIELD
                                          Deputy Attorneys General

                                     Attorneys for Defendant Attorney General
                                     Raúl Labrador




                                                              NOTICE OF APPEAL – 3
       Case 1:23-cv-00142-BLW Document 154 Filed 08/01/23 Page 3 of 6




                          REPRESENTATION STATEMENT

I.    Counsel for Appellant

      LINCOLN DAVIS WILSON
      Chief of Civil Litigation and Constitutional Defense
      lincoln.wilson@ag.idaho.gov

      BRIAN V. CHURCH
      Deputy Attorney General
      brian.church@ag.idaho.gov

      TIMOTHY LONGFIELD
      Deputy Attorney General
      tim.longfield@ag.idaho.gov

      Idaho Office of the Attorney General
      PO Box 83720
      Boise, ID 83720-0010
      (208) 334-2400

II.   Counsel for Appellees

      COLLEEN R. SMITH
      Stris & Maher LLP
      American Civil Liberties Union of
         Idaho Foundation Cooperating Attorney
      1717 K Street NW, Suite 900
      Washington, DC 20006
      csmith@stris.com
      T: (202) 800-5749

      KATHERINE V. MACKEY
      Wilmer Cutler Pickering Hale and Dorr LLP
      60 State Street
      Boston, MA 02109
      katherine.mackey@wilmerhale.com
      T: (617) 526-6993

      PETER G. NEIMAN
      peter.neiman@wilmerhale.com




                                                             NOTICE OF APPEAL – 4
 Case 1:23-cv-00142-BLW Document 154 Filed 08/01/23 Page 4 of 6




ALAN E. SCHOENFELD
alan.schoenfeld@wilmerhale.com

MICHELLE NICOLE DIAMOND
michelle.diamond@wilmerhale.com

RACHEL E. CRAFT
rachel.craft@wilmerhale.com

Wilmer Cutler Pickering Hale and Dorr LLP
7 World Trade Center
New York, NY 10007
T: (212) 230-8800

JENNIFER R. SANDMAN
jennifer.sandman@ppfa.org

CATHERINE PAYTON HUMPHREVILLE
catherine.humphreville@ppfa.org

Planned Parenthood Federation of America
123 William Street
New York, NY 10038
T: (212) 965-7000

MICHAEL J. BARTLETT
Bartlett & French LLP
1002 W. Franklin Street
Boise, ID 83702
michael@bartlettfrench.com
T: (208) 629-2311

DINA FLORES-BREWER
American Civil Liberties Union of Idaho Foundation
P.O. Box 1897
Boise, ID 83701
dfloresbrewer@acluidaho.org
T: (208) 344-9750

ANDREW BECK
abeck@aclu.org




                                                     NOTICE OF APPEAL – 5
        Case 1:23-cv-00142-BLW Document 154 Filed 08/01/23 Page 5 of 6




       MEAGAN BURROWS
       mburrows@aclu.org

       RYAN MENDIAS
       rmendias@aclu.org

       SCARLET KIM
       scarletk@aclu.org

       American Civil Liberties Union Foundation
       125 Broad Street, 18th Floor
       New York, NY 10004
       T: (212) 549-2633

III.   Counsel for Amici States

       PETER B. GONICK
       peter.gonick@atg.wa.gov

       CRISTINA SEPE
       christina.sepe@atg.wa.gov

       Washington Attorney General’s Office
       1125 Washington Street SE
       P.O. Box 40100
       Olympia, WA 98504-0100
       T: (360) 753-6200

IV.    Counsel for Amicus Curiae St. Luke’s Health System, Ltd.

       WENDY J. OLSON
       Stoel Rives LLP
       101 S. Capitol Blvd., Suite 1900
       Boise, ID 83702
       wendy.olson@stoel.com
       T: (208) 389-9000




                                                         NOTICE OF APPEAL – 6
       Case 1:23-cv-00142-BLW Document 154 Filed 08/01/23 Page 6 of 6




                           CERTIFICATE OF SERVICE

      I hereby certify that on August 1, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which caused the following parties
or counsel to be served by electronic means, as more fully reflected on the Notice of
Electronic Filing:

 Colleen R. Smith                          Peter G. Neiman
 csmith@stris.com                          peter.neiman@wilmerhale.com

 Jennifer R. Sandman                       Alan E. Schoenfeld
 jennifer.sandman@ppfa.org                 alan.schoenfeld@wilmerhale.com

 Catherine Peyton Humphreville             Michelle Nicole Diamond
 catherine.humphreville@ppfa.org           michelle.diamond@wilmerhale.com

 Michael J. Bartlett                       Rachel E. Craft
 michael@bartlettfrench.com                rachel.craft@wilmerhale.com

 Dina Flores-Brewer                        Katherine V. Mackey
 dfloresbrewer@acluidaho.org               katherine.mackey@wilmerhale.com

 Andrew Beck                               Ryan Mendías
 abeck@aclu.org                            rmendias@aclu.org

 Meagan Burrows                            Scarlet Kim
 mburrows@aclu.org                         scarletk@aclu.org

 Peter B. Gonick                           Cristina Sepe
 peter.gonick@atg.wa.gov                   christina.sepe@atg.wa.gov




                                             /s/ Lincoln Davis Wilson
                                             LINCOLN DAVIS WILSON
                                             Chief, Civil Litigation and
                                             Constitutional Defense




                                                                 NOTICE OF APPEAL – 7
